     Case 3:17-cv-01539-JLS-WVG Document 47 Filed 09/04/19 PageID.531 Page 1 of 2


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 8                           UNITED STATES DISTRICT COURT
 9                         SOUTHERN DISTRICT OF CALIFORNIA
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11    STRATEGIC OPERATIONS, INC., a                      Case No.: 17-CV-1539 JLS (WVG)
      California Corporation,
12
                                        Plaintiff,       ORDER GRANTING THIRD JOINT
13                                                       MOTION TO RESET HEARING
      v.                                                 DATE AND BRIEFING SCHEDULE
14
                                                         FOR DEFENDANTS’ MOTION TO
      BREA K. JOSEPH, an Individual;
15                                                       DISMISS SECOND AMENDED
      KASEY EROKHIN, an Individual;
                                                         COMPLAINT
16    KBZ FX, INC., a California Corporation;
      and DOES 1–10, inclusive,
17                                                       (ECF No. 45)
                                    Defendants.
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19
20         Presently before the Court is Plaintiff Strategic Operations, Inc. and Defendants Brea
21   K. Joseph, Kasey Erokhin, and KBZ FX, Inc.’s third Joint Motion to Reset Hearing Date
22   and Briefing Schedule for Defendants’ Motion to Dismiss Second Amended Complaint
23   (“Joint Mot.,” ECF No. 45), given their “ongoing settlement discussions stemming from
24   the parties’ ENE Conference.” Id. at 1. Good cause appearing, the Court GRANTS the
25   Joint Motion. As agreed among the Parties, the Court CONTINUES the hearing on
26   Defendants’ Motion to Dismiss Claims Against Individual Defendants Brea K. Joseph and
27   Kasey Erokhin in Second Amended Complaint (ECF No. 28) to October 3, 2019, at 1:30
28   ///

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     Case 3:17-cv-01539-JLS-WVG Document 47 Filed 09/04/19 PageID.532 Page 2 of 2


 1   p.m., in Courtroom 4D. Plaintiff SHALL FILE an opposition on or before September 19,
 2   2019, and Defendants MAY FILE a reply, if any, on or before September 26, 2019.
 3         IT IS SO ORDERED.
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 5   Dated: September 4, 2019
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